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                   UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF VERMONT


ROBERT A. FORTUNATI,            :
Administrator of the Estate of  :
Joseph Fortunati; ROBERT A.     :
FORTUNATI, SUSAN FORTUNATI; and :
MARK FORTUNATI,                 :
          Plaintiffs,           :
                                :
          v.                    :       File No. 1:07-CV-143
                                :
ANDREW CAMPAGNE, MARC THOMAS,   :
JEREMY HILL, TODD PROTZMAN, ROB :
SNETSINGER, KARL GARDNER, HUGH :
O’DONNELL, MIKE DUDLEY, WALTER :
GOODELL, and THE STATE OF       :
VERMONT,                        :
                                :
          Defendants.           :
________________________________:


        RULING ON DEFENDANTS’ PARTIAL MOTION TO DISMISS
                           (Paper 13)

I. Introduction

     Joseph Fortunati (“Fortunati” or “Joseph”) was killed

during a standoff with Vermont State Police when they were

attempting to arrest him.     Robert Fortunati, Administrator of

Joseph Fortunati’s estate, Robert Fortunati, individually,

Susan Fortunati and Mark Fortunati (“Plaintiffs”), have brought

suit against several Vermont State Police officers and the

State of Vermont (“Defendants”).       Defendants move to dismiss

five counts, all of which are brought on behalf of the estate

of Joseph Fortunati -- Counts I, II, IV and V for failure to



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 state a claim upon which relief can be granted, and Count VI

 for lack of subject matter jurisdiction.1

         Defendants move to dismiss Counts I, II and IV as if they

 contain one claim.        In their response, Plaintiffs point out

 that these counts contain multiple claims and address them

 individually.       Because the standard for a motion to dismiss for

 failure to state a claim upon which relief can be granted is

 deferential to Plaintiffs, the claims are addressed

 individually.

         Count I is brought against Officers Campagne and Thomas;

 Count II involves Officers Hill and Snetsinger.             Both claims

 allege:

               1)    excessive force for shooting Fortunati,

               2)    excessive force for recklessly creating a

 situation provoking the use of deadly force, and

               3)    gross negligence.

         Count IV is brought against Officers Protzman and Goodell

 who planned and supervised the arrest operation and alleges:

               1)    excessive force for recklessly creating a

 situation provoking the use of deadly force, and

               2)    gross negligence.




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       Count III, brought by Robert Fortunati, Susan Fortunati
and Mark Fortunati, alleging wrongful arrest under 42 U.S.C.
§ 1983, is not part of the Motion to Dismiss.

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     Count V is a state law wrongful death claim against the

six state police officers named in Counts I, II and IV.

     Count VI is brought against the State of Vermont - State

Police, and alleges two theories of liability:

          1)     as employer of the state police officers under

12 V.S.A. § 5601, and

          2)     failure to train and instruct the officers under

42 U.S.C. § 1983.

     For the following reasons, Defendants’ partial motion to

dismiss is denied as to the excessive force claims for shooting

Foruntati (Counts I and II); the excessive force claims for

recklessly creating a situation provoking the use of deadly

force (Count IV); the gross negligence claims (Counts I, II and

IV); and the wrongful death claims (Count V).         Defendants’

motion is granted as to the excessive force claims for

recklessly creating a situation provoking the use of deadly

force (Counts I and II), and both claims against the State of

Vermont (Count VI).

II. Background

     When considering a Motion to Dismiss for failure to state

a claim upon which relief can be granted, the Court accepts the

factual allegations in Plaintiff’s Complaint as true.

Fortunati alleges the following facts in the Complaint:




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     On June 24, 2006, Fortunati was camping on remote private

property in Corinth, Vermont.      Defendants Campagne, Thomas,

Hill and Snetsinger, with other state police tactical support

unit (“TSU”) members, “decided to sneak up on Joseph through

the woods to get to Joseph’s campsite.”        (Complaint at ¶ 7).

Defendants claim they went to arrest Fortunati for drawing a

handgun during an argument with his family earlier that day.

Defendants were dressed in camouflage with painted faces and

carried assault rifles.     Defendants knew Fortunati was mentally

ill and leery of police, and they did not posses a warrant or

have permission to be on the property.

     Defendants surrounded Joseph, and “Defendant Hill, without

justification, fired a less but potentially lethal ‘bean bag’

from his shotgun into Joseph.”      Id. at ¶ 9.     Defendants then

fired more “bean bags” hitting Joseph, and “blew out the window

of Joseph’s car” which was not running and parked at the

campsite.   Id. at ¶ 10.    Joseph “tried to stand by a tree for

protection and take cover from Defendants’ excessive, cruel,

terrorizing and unconstitutional conduct.”        Id. at ¶ 11.

     Defendants continued shooting beanbags at Fortunati, and

when requested he showed Defendants his hands.         “Joseph made no

aggressive movements towards Defendants; he simply stood by a

tree to avoid being killed.” Id. at ¶ 12.        While Fortunati was

“showing Defendants his hands, so that they could see he was


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not brandishing a weapon, Defendant Snetsinger shot Joseph

again [with a bean bag]. . . . Joseph was not fleeing, running,

attacking, or acting aggressively.” Id. at ¶ 13.

     Other TSU members ordered Joseph to remove his gun from

his waistband, and Joseph complied.       “Joseph did not attack or

attempt to attack Defendants.      Joseph did not point a weapon at

Defendants.   Joseph did not threaten Defendants either verbally

or through physical action.”      Id. at ¶ 14.    Defendants Campagne

and Thomas fired at least three bullets at Fortunati from a

distance of approximately 60 to 75 feet.        Two shots struck

Fortunati in the face and chest, killing him.         Id.

     Plaintiffs claim Defendants knew Fortunati was in a

“remote and isolated area and no others from the public were

around” and that Fortunati had no captives.         Id. at ¶ 18.

Defendants had two negotiators on site but they remained in a

van during the standoff.     Defendants also knew Fortunati’s

mental health counselor was available and Fortunati’s family

was only three miles away, but they did not allow either to

assist.

     Plaintiffs further contend Defendant Protzman and others

“intentionally kept information from” and intentionally ignored

Joseph’s father.    Additionally, “. . . Protzman sent two

troopers to the Fortunati residence to conduct a phony and




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distracting interview, [while] TSU members were already moving

in on Joseph.” Id. at ¶ 22.

      Finally, Plaintiffs claim Defendants’ initial

justification for shooting Fortunati “was that Defendants were

under fire and that Joseph was shooting at Defendants and they

had to defend themselves by returning fire.”           Id. at ¶ 16.

Plaintiffs argue this justification is “absolutely false,” as

Fortunati never fired a weapon and never shot at Defendants.

Id.   Plaintiffs then allege “[s]ubsequently as part of a

cover-up, Defendants omitted from their investigative reports

the first claimed justification [given] for shooting Joseph; .

. .” and later formulated another justification during the

investigation.     Id.   Plaintiffs maintain that “none of the

Defendants’ investigative reports mentioned that the first

story allegedly justifying the killing was withdrawn.”             Id.

III. Discussion

      A. Standard for 12(b)(6) Motion to Dismiss

      In a motion to dismiss for failure to state a claim upon

which relief can be granted, the Court accepts the facts

alleged in the complaint as true and draws all reasonable

inferences in favor of the plaintiff.         Kassner v. 2nd Ave.

Delicatessen Inc., 496 F.3d 229, 237 (2d Cir. 2007).            “All

complaints must be read liberally; dismissal on the pleadings

never is warranted unless the plaintiff’s allegations are


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doomed to fail under any available legal theory.”          Phillips v.

Girdich, 408 F.3d 124, 128 (2d Cir. 2005).        “A motion to

dismiss should not be granted where there exists a ‘plausible

entitlement to relief.’”     Keene v. Schneider, No. 2:07-CV-79,

2007 WL 2463270, at *3 (D. Vt. Aug. 28, 2007) (quoting Bell

Atlantic Corp. v. Twombly, 127 S. Ct. 1955, 1967 (2007)).

     B.   Counts I, II and IV - Excessive Force and Qualified
          Immunity

     Defendants move to dismiss Counts I, II and IV on the

grounds that Plaintiffs have failed to allege a viable Fourth

Amendment claim and alternatively, the police officers are

entitled to qualified immunity.        An analysis of the qualified

immunity issue necessarily resolves the failure to allege a

viable Fourth Amendment violation.

     Qualified immunity protects government officials from

liability for civil damages if “their conduct does not violate

clearly established statutory or constitutional rights of which

a reasonable person would have known.”        Harlow v. Fitzgerald,

457 U.S. 800, 818 (1982).     Courts have acknowledged that

“[q]ualified immunity is ‘an entitlement not to stand trial or

face the other burdens of litigation.’”        Saucier v. Katz, 533

U.S. 194, 200 (2001) (quoting Mitchell v. Forsyth, 472 U.S.

511, 526 (1985)).    Courts therefore emphasize “the importance

of resolving immunity questions at the earliest possible stage

in litigation.”   Hunter v. Bryant, 502 U.S. 224, 227 (1991).

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     When a party asserts qualified immunity in a motion to

dismiss, however, rather than in a motion for summary judgment,

“the defense faces a formidable hurdle . . .” and “must accept

the more stringent standard applicable to this procedural

route.”    McKenna v. Wright, 386 F.3d 432, 434, 436 (2d Cir.

2004).    Further, plaintiff is entitled to all reasonable

inferences from the facts alleged in the complaint -- those

that support his claim and those that defeat the immunity

defense.    Id.

     The qualified immunity defense involves a two-part

analysis.    The initial question is whether “[t]aken in the

light most favorable to the party asserting the injury, do the

facts alleged show the officer’s conduct violated a

constitutional right?”     Saucier, 533 U.S. at 201.       If so,

“whether the right was clearly established” must be examined

“in light of the specific context of the case . . . .”           Id.

            1.    Violation of a Constitutional Right

     The Plaintiffs allege the officers violated Fortunati’s

constitutional right to be free from excessive force.          The

Supreme Court has made clear that “all claims that law

enforcement officers have used excessive force -- deadly or not

-- in the course of an arrest . . . should be analyzed under

the Fourth Amendment and its ‘reasonableness’ standard . . . .”

This “reasonableness” inquiry is an objective one, so the


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relevant question is “whether the officers’ actions are

‘objectively reasonable’ in light of the facts and

circumstances confronting them, without regard to their

underlying intent or motivation.”       Graham v. Connor, 490 U.S.

386, 395, 397 (1989).    Among the circumstances to be considered

are the “severity of the crime at issue, whether the suspect

poses an immediate threat to the safety of the officers or

others, and whether he is actively resisting arrest or

attempting to evade arrest by flight.”        Id. at 396, 1872.      When

considering these circumstances, “[t]he reasonableness of a

particular use of force must be judged from the perspective of

a reasonable officer on the scene, rather than with the 20/20

vision of hindsight.”    Id.

                  a.   Excessive force in shooting Fortunati
                       (Counts I and II)

     Under Graham, the Court must first ask whether the force

the officers applied was objectively reasonable in light of the

facts and circumstances confronting them.        The police were

seeking to arrest Fortunati for “having an argument with family

members early in the day . . . and for drawing a handgun during

that argument.”    (Complaint at ¶ 8).     It is not known what

level of crime was involved, but the family altercation was not

in progress when the police approached Fortunati’s campsite.

     Fortunati did have a gun in his possession, but whether he

posed an immediate threat to the safety of the officers or

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others is unclear.      According to the Complaint, Officer Hill

shot the bean bag at Fortunati “without justification,” and

Officer Snetsinger fired another bean bag at Fortunati while

Fortunati was showing his hands to the officers.            Id. at ¶¶ 9,

13.    Fortunati did not attack Defendants, point a weapon at

them, or threaten them verbally or physically.            Even so,

Defendants Campagne and Thomas fired at least three bullets at

Fortunati from a distance of 60 to 75 feet.           Id. at ¶¶ 14, 15.

       It is also disputed whether Fortunati was evading arrest

or attempting flight, or rather, as the Complaint states “tried

to stand by a tree for protection and take cover from

Defendants’ excessive, cruel, terrorizing and unconstitutional

conduct.” Id. at ¶ 11.       Considering these facts in the

Complaint to be true, it is plausible that Fortunati is

entitled to relief for violation of his Fourth Amendment

rights.    Therefore, Plaintiffs’ Complaint passes the first

inquiry in the qualified immunity analysis.

                  b.    Excessive force by recklessly creating a
                        situation provoking the use of deadly force
                        (Counts I, II and IV)


       In Counts I and II, Plaintiffs claim “an independent

Fourth Amendment violation [for] recklessly provoking

subsequent events.”       (Paper 17-2 at 15).     The cases Plaintiffs

cite for support, however, address only whether the actions

leading up to the use of deadly force should be considered in

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deciding whether the force was reasonable, not whether the

actions leading up to the use of force are independent Fourth

Amendment violations.     Accordingly, Defendants’ motion to

dismiss the excessive force claims in Counts I and II for

recklessly creating a situation intended to provoke the use of

deadly force is granted.

     In Count IV, the excessive force claim against Officers

Protzman and Goodell is based on their decisions as operational

leaders who recklessly created a situation provoking the use of

deadly force.   (Paper 17-2 at 15).      Plaintiffs argue “courts

have recognized a cause of action under the Fourth Amendment

against the operational leaders, decision makers, and those in

charge whose decisions recklessly create a situation provoking

the use of deadly force.” Id.      Specifically, Plaintiffs assert:

“Defendants Protzman and Goodell were in charge of the

operation.   It was their instruction to deploy the TSU members

after Joseph.   These Defendants knew of Joseph’s emotional and

mental problems.” (Id. at 18).

     The parties disagree as to whether this claim exists as an

independent cause of action under the Fourth Amendment.           Case

law addressing whether the decision to use a tactical team may

be considered excessive force is sparse.        Both the Third and

Tenth Circuits, however, have acknowledged this theory as a

cause of action to be analyzed under the Fourth Amendment.


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     In a Third Circuit case the court states: “. . . a

decision to employ a SWAT-type team can constitute excessive

force if it is not ‘objectively reasonable’ to do so in light

of ‘the totality of the circumstances.’” Estate of Smith v.

Marasco, 430 F.3d 140, 149 (3d Cir. 2005).         See also Estate of

Smith v. Marasco, 318 F.3d 497, 517 (3d Cir. 2003) (noting

“given Smith’s history of mental problems and possession of

weapons, . . . [t]he question . . . was not simply whether the

officers reasonably believed their lives were in danger, but

whether the activation of SERT and the tactics of that unit

were a reasonable response to that belief in the circumstances

of this case.”).

     The Tenth Circuit has taken the same approach.          “Where a

plaintiff claims that the use of a SWAT team to effect a

seizure itself amounted to excessive force, we review the

decision to use that degree of force by ‘balanc[ing] the nature

and quality of the intrusion on the individual’s Fourth

Amendment interests against the importance of the governmental

interests alleged to justify the intrusion.’”         Holland v.

Harrington, 268 F.3d 1179, 1190 (10th Cir. 2001) (quoting

Tennessee v. Garner, 471 U.S. 1, 8 (1985)). See also Warren v.

Williams, No. 304CV537, 2006 WL 860998, at *27 (D. Conn. Mar.

31, 2006) (analyzing the decision to use a Tactical Team under

the Fourth Amendment, citing Holland and Marasco for support).


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     Defendants cite Seventh and Eighth Circuit case law for

the propositions that courts scrutinize the reasonableness of

the seizure alone, not the events leading up to it, and that

the Fourth Amendment does not address whether the course chosen

was the best of available alternatives or the least intrusive

alternative.   See Cole v. Bone, 993 F.2d 1328, 1333 (8th Cir.

1993), Schulz v. Long, 44 F.3d 643, 649 (8th Cir. 1995) and

Plakas v. Drinski, 19 F.3d 1143, 1149 (7th Cir. 1994).          Salim

v. Proulx, 93 F.3d 86 (2d Cir. 1996), the only Second Circuit

case cited by Defendants, involves a negligence claim for

creating a situation in which the use of deadly force became

necessary.   That court viewed the actions leading up to the

shooting as irrelevant to the objective reasonableness of the

officer’s conduct at the moment he employed deadly force, but

did not consider those actions under the guise of an

independent Fourth Amendment violation.        Id. at 92.

     Given that the decision to use a tactical team has been

recognized in some jurisdictions as a cause of action under the

Fourth Amendment, and the standard for a motion to dismiss for

failure to state a claim upon which relief can be granted is

deferential, Plaintiffs meet the threshold inquiry in the

qualified immunity analysis for this claim within Count IV.




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                2.   Whether the Constitutional Right was Clearly
                     Established

          If a plaintiff’s complaint properly alleges a violation of

 a constitutional right, the next inquiry is whether that right

 was clearly established.           Saucier, 533 U.S. at 201.       The

 Second Circuit has further refined this inquiry into two parts,

 so that qualified immunity exists when “‘(a) the defendant’s

 action did not violate clearly established law, or (b) it was

 objectively reasonable for the defendant to believe that his

 action did not violate such law.’” Poe v. Leonard, 282 F.3d

 123, 133 (2d Cir. 2002) (quoting Tierney v. Davidson, 133 F.3d

 189, 196 (2d Cir. 1998)).2

          The Second Circuit has acknowledged “[t]he right of an

 individual not to be subjected to excessive force has long been

 clearly established.         Calamia v. City of New York, 879 F.2d

 1025 (2d Cir. 1989); Keene v. Schneider, No. 2:07-CV-79, 2007

 WL 2463270, at *4 (D. Vt. Aug. 28, 2007).             Therefore, the

 relevant inquiry becomes whether it was objectively reasonable

 for Officers Campagne, Thomas, Hill, Snetsinger, Protzman and

 Goodell to believe their actions did not violate that right.


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      Another approach to qualified immunity used by the Second
Circuit finds a right is clearly established if (1) the law is
defined with reasonable clarity, (2) the Supreme Court or the
Second Circuit has recognized the right, and (3) “a reasonable
defendant [would] have understood from the existing law that
[his] conduct was unlawful.” Anderson v. Recore, 317 F.3d 194,
197 (2d Cir. 2003) (internal citations omitted). Under this
analysis, however, the result would be the same.

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Considering the circumstances they faced, it cannot be

determined at this stage of the proceedings that it was

objectively reasonable for the officers to believe their

actions -- using a SWAT team, shooting Fortunati with bean bags

and live ammunition -- did not violate his right to be free

from excessive force.

     Therefore, Defendants’ motion to dismiss the excessive

force claims in Counts I and II for shooting Fortunati and

their motion to dismiss the excessive force claim in Count IV

for recklessly creating a situation provoking the use of deadly

force are denied.

     C. Counts I, II and IV - Gross Negligence Claims

     Plaintiffs assert claims of gross negligence against

Officers Campagne, Thomas, Hill, Snetsinger, Protzman and

Goodell within Counts I, II and IV.        Although Defendants do not

specifically request dismissal of these claims, they move to

dismiss the Counts in their entirety.        The basis for these

claims is unclear.    Although Plaintiffs’ Complaint demands

judgment under 42 U.S.C. § 1983, their filings suggest these

claims fall under 12 V.S.A. § 5602 and are not protected by the

Eleventh Amendment.     (Paper 17-2 at 19-20).      Since there is

insufficient information at this point to determine the

viability of the gross negligence claims, Defendants’ motion to

dismiss them is denied.


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     D. Count V - Wrongful Death Claims

     Defendants move to dismiss Plaintiffs’ state law claims

for wrongful death.     For a right of action to exist, Vermont’s

wrongful death statute requires a “wrongful act, neglect or

default of a person or corporation.”        12 V.S.A. § 1491.

Defendants maintain that Fortunati’s death was not caused by

any “wrongful” act because “Defendants’ actions were lawful and

reasonable given the circumstances alleged in the Complaint.”

(Paper 13 at 17).    Taking as true the allegations of the

Complaint, Defendants’ actions were not objectively reasonable

and therefore lawful.     The complaint sufficiently pleads

“wrongful” acts to avoid being dismissed.

       Defendants assert the actions of Hill and Snetsinger in

shooting Fortunati with the less-than-lethal bean bags, did not

cause Fortunati’s death because they did not hurt or kill him.

In a wrongful death action, a plaintiff must prove: “One, the

negligence led to the death in a natural and uninterrupted

sequence of events.     Two, the negligence was a substantial

factor in bringing about the death.        And, three, the death

would not have happened if that defendant had not been

negligent.”   Rooney v. Med. Ctr. Hosp. of Vt., Inc., 162 Vt.

513, 523, 649 A.2d 756, 762 (1994).        Taking the facts alleged

in the Complaint as true, and drawing all reasonable inferences

in favor of Plaintiffs, it is entirely possible Hill and


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Snetsinger’s actions caused Fortunati’s death.          The Complaint

alleges “Defendants fired more ‘bean bags’ at Joseph, hitting

Joseph” and further claims “Joseph, who was being attacked . .

. tried to stand by a tree for protection and take cover from

Defendants’ excessive, cruel, terrorizing and unconstitutional

conduct.”   (Complaint at ¶¶ 10, 11).       Defendants argue Campagne

and Thomas were reasonable in shooting Fortunati because they

“were aware that the less-than-lethal alternatives already

employed had been unsuccessful.”        (Paper 13 at 12).    So, is it

not a reasonable conclusion that by shooting the bean bags Hill

and Snetsinger “set a sequence of events in motion . . . which

started the terrible and horrifying subsequent events,”           (Paper

17-2 at 21) and that Hill and Snetsinger’s actions led to

Fortunati’s death?    Had their actions not been negligent,

Fortunati’s death would not have occurred.

     Accordingly, Defendants’ motion to dismiss Count V for

failure to state a claim upon which relief can be granted is

denied.

     E. Standard for § 12(b)(1) Lack of Subject Matter
        Jurisdiction

     In reviewing a motion to dismiss under § 12(b)(1), the

Court takes the facts alleged in the complaint as true and

draws all reasonable inferences in favor of plaintiff.           Natural




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 Resources Defense Council v. Johnson, 461 F.3d 164, 171 (2d

 Cir. 2006).3

          F.    Count VI - Claims Against State of Vermont - State
                Police

          Plaintiffs allege the State of Vermont is liable under two

 theories: (1) as employer of the police officers, under 12

 V.S.A. § 5601, and (2) for failure to train and instruct, under

 42 U.S.C. § 1983.        Defendants’ motion also addresses claims

 against the officers in their official capacities, but

 Plaintiffs’ response clarifies the officers are being sued only

 in their individual capacities.

                1. Liability under 12 V.S.A § 5601

          Under 12 V.S.A. § 5601(a), the state is liable for injury

 or loss of life caused by the negligent or wrongful acts of an

 employee acting within the scope of employment, just as a

 private person would be liable, but “[t]he superior courts of

 the state shall have exclusive jurisdiction of any actions

 brought hereunder.”         Additionally, 12 V.S.A. § 5601(g)



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      Defendants claim no presumptive truthfulness should be
given to the factual allegations when reviewing a 12(b)(1) motion
to dismiss. Case law distinguishes between a facial attack,
which questions the sufficiency of the pleading, and a factual
attack, where there is no presumption of truth given to the
allegations of the complaint. Ohio Nat’l Life Ins. Co. v. United
States, 922 F.2d 320, 325 (6th Cir. 1990). Defendants’ motion
involves a facial attack, arguing the pleadings are insufficient
because the state cannot be a defendant in a lawsuit seeking
relief under 42 U.S.C. § 1983, so it is proper to presume the
allegations in the Complaint are true.

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provides: “Nothing in this chapter waives the rights of the

state under the Eleventh Amendment of the United States

Constitution.”    Accordingly, this Court does not have subject

matter jurisdiction over a claim against the State of Vermont

arising under 12 V.S.A. § 5601 and this portion of Count VI is

dismissed.

             2. Liability under 42 U.S.C. § 1983

     Plaintiffs claim the state is liable for “failure, through

its agents the State Police, to properly and adequately train

and instruct the members of the department, including the named

Defendants, in the proper manner of dealing with emotionally

disturbed and mentally ill individuals.”        (Complaint at ¶ 49).

According to Plaintiffs, “. . . where conduct by the State or

its agents shocks the conscience, the State agent can be sued

in federal court for violation of the Fourteenth Amendment.”

(Paper 17-2 at 22, emphasis added).

     According to the Supreme Court, “Section 1983 . . . does

not provide a federal forum for litigants who seek a remedy

against a State for alleged deprivations of civil liberties.

The Eleventh Amendment bars such suits unless the State has

waived its immunity . . . or unless Congress has exercised its

undoubted power . . . to override that immunity,” so as a

result, “. . . neither a State nor its officials acting in

their official capacities are ‘persons’ under § 1983.”           Will v.


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Michigan Dep’t of State Police, 491 U.S. 58, 66, 71 (1989).

Therefore, Plaintiffs’ claims against the State of Vermont

under 42 U.S.C. § 1983 are barred by the Eleventh Amendment and

are dismissed for lack of subject matter jurisdiction.

IV. Conclusion

     Defendants’ motion to dismiss is DENIED as follows:

     (a)   excessive force claims against Defendants Campagne,

Thomas, Hill and Snetsinger for shooting Fortunati (Counts I

and II);

     (b    excessive force claims against Defendants Protzman

and Goodell for recklessly creating a situation provoking the

use of deadly force (Count IV); and

     (c)   gross negligence claims (Counts I, II and IV) and

wrongful death claims (Count V) against Defendants Campagne,

Thomas, Hill, Snetsinger, Protzman and Goodell.

     Defendants’ motion to dismiss is GRANTED as follows:

     (a)   excessive force claims against Defendants Campagne,

Thomas, Hill and Snetsinger for recklessly creating a situation

provoking the use of deadly force (Counts I and II); and

     (b)   all claims against the State of Vermont (Count VI).

     Defendants’ answer to Plaintiffs’ Complaint shall be filed

within ten (10) days of the date of this Ruling, and the

parties’ proposed discovery schedule, pursuant to Local Rule

26.1, shall be filed within 30 days thereafter.


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     SO ORDERED.

     Dated at Brattleboro, in the District of Vermont, this

25th day of January, 2008.

                                        /s/ J. Garvan Murtha
                                        J. Garvan Murtha
                                        United States District Judge




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